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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

United States of America, CR-24-00394-PHX-SPL
Plaintiff,
MEMORANDUM OF
Vs. UNDERSTANDING REGARDING
RECEIPT OF CLASSIFIED
INFORMATION

Abraham Chol Keech, et al..
Defendants.

Having familiarized myself with the applicable statutes, regulations, and orders,
including but not limited to, Title 18, United States Code, Sections 793, 794, 798, and
1924; the Intelligence Identities Protection Act, Title 50, United States Code, Section 3121;
Title 18, United States Code, Section 641; Title 50, United States Code, Section 783; and
Executive Order 13526, I understand that I may be the recipient of information and
documents that concern the present and future security of the United States and which
belong to the United States, and that such documents and information together with the
methods and sources of collecting it are classified by the United States Government. In
consideration for the disclosure of classified information and documents:

L. I agree that I shall never divulge, publish, or reveal either by word, conduct
or any other means, such classified documents and information unless specifically
authorized in writing to do so by an authorized representative of the United States

Government; or as expressly authorized by the Court pursuant to the Classified Information

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Procedures Act and the Protective Order entered in United States v. Keech, et al., CR-24-
00394-PHX-SPL.

ni I agree that this Memorandum will remain forever binding on me.

3; I have received, read, and understand the Protective Order entered by the
United States District Court for the District of Arizona on bb/: Loy | ange 2025, in
United States v. Keech, et al., CR-24-00394-PHX-SPL, relating to dascifiel information,

and I agree to comply with the provisions thereof.

4. | I understand that any prior contractual obligations that may bind me to
continue to protect classified information remain in full force and effect, and are not
superseded by this Memorandum of Understanding. Additionally, I understand that this
Memorandum of Understanding does not absolve me of any criminal or civil penalties that
may otherwise be imposed upon me as a result of my unauthorized disclosure of classified

information.

o— 09/s foras

Counsel for the Defendant Date ¢

